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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
               v.
                                                         1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S UNOPPOSED
            MOTION FOR LEAVE TO FILE EXCESS PAGES

       Pursuant to Local Criminal Rule 47, Defendant Concord Management and Consulting

LLC (“Defendant” or “Concord”), by and through undersigned counsel, respectfully moves for

an order expanding the page limitations set forth in Local Criminal Rule 47(e). Defendant

requests an order permitting an additional ten pages in its forthcoming Opposition to the

Government’s Motion in Limine to Admit Documents, ECF 335-1, which will be filed on

Monday, February 17, 2020.

       Pursuant to the Court’s instruction at the February 12, 2020 hearing, Concord’s

Opposition will respond to the arguments raised in the government’s Motion and also raise

additional objections to the government’s proposed trial exhibits, including exhibits not

specifically addressed in the government’s Motion. See Feb. 12, 2020 Hr’g Tr. 79:23-80:21. In

order to do so, Concord requests an extension of the page limit.

       Undersigned counsel has conferred with counsel for the government regarding the relief

requested herein. Counsel for the government does not oppose the request.

       A proposed order is filed herewith.
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Dated: February 15, 2020                Respectfully submitted,

                                        CONCORD MANAGEMENT AND
                                        CONSULTING LLC

                                        By Counsel

                                         /s/ Eric A. Dubelier
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